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 4

 5
     Attorney for Defendant
     JEREMY R. WARREN
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-15-189 GEB
                                                      )
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                                                      )
             Plaintiff,                               )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
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                                                      )       [PROPOSED] FINDINGS AND ORDER
     JEREMY R. WARREN,                                )
13
                                                      )
                                                      )       Date: April 27, 2018
14           Defendant.                               )       Time: 9:00 a.m.
                                                      )       Judge: Honorable Garland E Burrell, Jr.
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                                                      )
                                                      )
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             The United States of America through its undersigned counsel, Michele Beckwith,
19
     Assistant United States Attorney, together with counsel for defendant Jeremy Warren, John R.
20
     Manning, Esq., hereby stipulate the following:
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22        1. By previous order, this matter was set for status conference on March 16, 2018.

23        2. By this stipulation, the defendant now moves to continue the status conference until April
24
     27, 2018 and to exclude time between March 16, 2018 and April 27, 2018 under the Local
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     CodeT-4 (to allow defense counsel time to prepare). The parties agree and stipulate, and request
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     the Court find the following:
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28           a.     Counsel for the defendant was appointed on June 17, 2016.



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            b. The government has produced approximately 1,300 pages of discovery and 26 audio
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 2              files.

 3          c. Counsel for the defendant needs additional time to review the discovery, conduct
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                investigation, interview potential witnesses, and meet with the defendant.
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            d. Counsel for the defendant believes the failure to grant a continuance in this case
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 7
                would deny defense counsel reasonable time necessary for effective preparation,

 8              taking into account the exercise of due diligence.
 9          e. The Government does not object to the continuance. The parties anticipate that on
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                April 27, 2018, the defendant will either enter a change of plea or set the case for
11
                trial.
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13          f. Based on the above-stated findings, the ends of justice served by granting the

14              requested continuance outweigh the best interests of the public and the defendant in a
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                speedy trial within the original date prescribed by the Speedy Trial Act.
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            g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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                Section 3161(h)(7)(A) within which trial must commence, the time period of March
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19              16, 2018, to April 27, 2018, inclusive, is deemed excludable pursuant to 18 United

20              States Code Section 3161(h)(7)(A) and (B)(iv), corresponding to Local Code T-4
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                because it results from a continuance granted by the Court at the defendant's request
22
                on the basis of the Court’s finding that the ends of justice served by taking such
23
                action outweigh the best interest of the public and the defendant in a speedy trial.
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25      3. Nothing in this stipulation and order shall preclude a finding that other provisions of the

26   Speedy Trial Act dictate that additional time periods are excludable from the period within which
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     a trial must commence.
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                                                      2
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 1

 2      IT IS SO STIPULATED.

 3
     Dated: March 14, 2018                             /S/ John Manning
 4
                                                       JOHN R. MANNING
 5                                                     Attorney for Defendant
                                                       Jeremy Warren
 6

 7
     Dated: March 14, 2018                             McGregor W. Scott
                                                       United States Attorney
 8
                                                 by:   /S/ Michael Beckwith
 9                                                     MICHAEL BECKWITH
10
                                                       Assistant U.S. Attorney

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12
                                         ORDER
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                               IT IS SO FOUND AND ORDERED.
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                                   Dated: March 15, 2018
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